       Case 3:05-cr-00447-CRB Document 88 Filed 07/25/06 Page 1 of 3



 1   MICHAEL GAINES, Bar No. 50553
     Attorney at Law
 2   255 Kansas Street, Suite 340
     San Francisco, CA 94103
 3   (415) 495-0112
 4   Attorney for Defendant
     SANG HUN PARK
 5
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
10                                      SAN FRANCISCO VENUE
11
12    UNITED STATES OF AMERICA,                           )   NO. CR-05-00447 CRB
                                                          )
13                         Plaintiff,                     )   REQUEST, STIPULATION AND
                                                          )   ORDER
14    vs.                                                 )
                                                          )
15    SANG HUN PARK,                                      )
                                                          )
16                         Defendant.                     )

17          This matter is currently on the Court’s calendar for July 26, 2006. Through counsel,
18   Defendant Sang Hun Park and the United States ask the Court to (a) vacate the July 26, 2006 date
19   based on the defendant’s anticipated plea agreement, (b) set a date of August 16, 2006 for change
20   of plea and (c) exclude time under the Speedy Trial Act, 18 U.S.C. section 3161 from July 26, 2006
21   to August 16, 2006.
22          1. The parties are currently working out the language of a plea agreement and request that
23   the Court set the matter for August 16, 2006 for change of plea.
24          2. The parties agree that the time between July 26, 2006 and August 16, 2006 should be
25   excluded from the Speedy Trial clock. Previously, the Court has declared this case complex. See
26   18 U.S.C. section 3161(h)(8)(B)(ii). Further, defense counsel is investigating the immigration
27   consequences of a plea. That matter needs a short amount of time to e resolved, and thus the parties
28   agree that a continuance is necessary for the effective preparation of defense counsel, taking into
     account the exercise of due diligence. See 18 U.S.C. section 3161(h)(8)(B)(iv). The parties also
           Case 3:05-cr-00447-CRB Document 88 Filed 07/25/06 Page 2 of 3



 1   agree the ends of justice are served by excluding the period from July 26, 2006 to August 16, 2006
 2   outweigh the interest of the public an the defendant in a Speedy Trial. See id. section 3161(h)(8)(A0.
 3
 4   STIPULATED:
 5
 6   DATED : July 21, 2006                          _____/S/ Michael Gaines___________
 7                                                  MICHAEL GAINES, Attorney for Sang Hung Park
 8
 9   DATED : July 21, 2006                          ____/S/ Peter Axelrod______________
10                                                  PETER AXELROD
11                                                  Assistant United States Attorney
12
13                                   ORDER
14             For good cause shown, and for the reasons stated above, the Court (a) vacates the July 26,
15   2006, hearing date for defendant Sang Hung Park based on the anticipated plea agreement, (b) sets

16   the matter for a change of plea on August 16, 2006 at 2:15 p.m., and (c) excludes time under the

17   Speedy Trial Act, 18 U.S.C. section 3161 from July 26, 2006 to August 16, 2006. The Court finds

18   that the failure to grant the requested exclusion would deny defense counsel reasonable time

19   necessary for effective preparation taking into account the exercise of due diligence, Further, the

20   Court finds the exclusion warranted on complexity grounds, under 18 U.S.C. section

21   3161(h)(8)(B)(ii). Thus, the Court finds that the ends of justice served by granting the requested

22   exclusion outweigh the best interest of the public and the defendant in a speedy trial and in the

23   prompt disposition of criminal cases. The Court therefore concludes that this exclusion of time

24   ///

25   ///

26   ///

27   ///

28   ///

                                                      -2-
       Case 3:05-cr-00447-CRB Document 88 Filed 07/25/06 Page 3 of 3



 1   should be made under 18 U.S.C. sections 3161(h)(8)(A), (h)(8)(B)(ii) and (h)(8)(B)(iv).
 2   IT IS SO ORDERED.
 3
                                                                    ISTRIC
                                                              TES D         TC
 4   DATED :__________________
              July 25, 2006                                  A
                                                         ___________________________
                                                            T




                                                                                          O
                                                         S




                                                                                           U
 5




                                                        ED
                                                         CHARLES R. BREYER




                                                                                            RT
                                                                         RDE Judge RED




                                                    UNIT
 6                                                                 SO O
                                                         UnitedISStates
                                                             IT
                                                                        District




                                                                                              R NIA
 7
                                                                                       yer
                                                                               s R. Bre




                                                    NO
 8                                                                        harle
                                                                  Judge C




                                                                                              FO
                                                      RT
 9




                                                                                             LI
                                                             ER




                                                         H




                                                                                          A
10                                                                N                       C
                                                                                    F
                                                                      D IS T IC T O
11                                                                          R

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   -3-
